            Case 1:21-mj-00533-ZMF Document 7 Filed 08/06/21 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :        Case No. 21-mj-533
                                              :        Magistrate Judge Robin M. Meriweather
SAMUEL LAZAR,                                 :
                                              :
                       Defendant.             :


            GOVERNMENT’S NOTICE OF FILING OF EXHIBITS PURSUANT
                       TO LOCAL CRIMINAL RULE 49

       The United States hereby gives notice, pursuant to Local Criminal Rule 49, of the following

exhibits that were provided to the Court and all counsel in relation to Government’s Oral Motion

for Pretrial Detention. The exhibits are as follows:

       1.      Government Exhibit 1 was provided to the Court and opposing counsel via USAfx

on August 5, 2021. Government Exhibit 1 is a clip from the body-worn camera of Metropolitan

Police Department (MPD) officer M.C. and is approximately five minutes in length, though the

government respectfully submits only the first one minute and twenty seconds is relevant for this

hearing. The events depicted in Exhibit 1 occurred at approximately 1:13 p.m. on January 6, 2021.

       2.      Government Exhibit 2 was provided to the Court and opposing counsel via USAfx

on August 5, 2021. Government Exhibit 2 is a video recorded by the FBI from YouTube and is

approximately two minutes in length. The events depicted in Exhibit 2 occurred at approximately

4:30 p.m. on January 6, 2021.




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          Case 1:21-mj-00533-ZMF Document 7 Filed 08/06/21 Page 2 of 2




                                      Respectfully submitted,

                                      CHANNING D. PHILLIPS
                                      Acting United States Attorney
                                      DC Bar No. 415793

                                      s/ Douglas G. Collyer
                                      Douglas G. Collyer
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I HEREBY CERTIFY that I filed the foregoing
pleading electronically through the CM/ECF system
which caused the parties or counsel of record to be
served by electronic means, as reflected on the Notice
of Electronic Filing, and other methods of service as
indicated therein on August 6, 2021


s/ Douglas G. Collyer
Douglas G. Collyer
Assistant United States Attorney




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